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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


ARTHUR JOHNSON,                           :   CIVIL ACTION NO. 1:16-CV-863
            Plaintiff                     :
                                          :   (Chief Judge Conner)
             v.                           :
                                          :
JOHN WETZEL, et al.,                      :
              Defendants                  :

                                      ORDER

      AND NOW, this 28th day of June, 2017, it having been reported to the Court

that the above action has been settled, IT IS HEREBY ORDERED that this action

is dismissed without costs and without prejudice, upon good cause shown within

ninety (90) days, to reinstate the action if the settlement is not consummated.




                                       /S/ CHRISTOPHER C. CONNER
                                       Christopher C. Conner, Chief Judge
                                       United States District Court
                                       Middle District of Pennsylvania
